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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JESSICA BLINKHORN,           )
                             )
      Plaintiff,             )
                             )               CIVIL ACTION
v.                           )
                             )               FILE No. _____________________
VININGS JUBILEE PARTNERS II, )
L.P.,                        )
                             )
      Defendant.             )

                                  COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendant VININGS JUBILEE

PARTNERS II, L.P. pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District

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of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff JESSICA BLINKHORN (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

      4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant VININGS JUBILEE PARTNERS II, L.P. (hereinafter

“Defendant”) is a Georgia limited partnership that transacts business in the state of

Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Paul C. Wilgus, 4300 Paces Ferry Road, Suite 500,

Atlanta, Georgia 30339.

                           FACTUAL ALLEGATIONS

      9.     On or about February 15, 2021, Plaintiff was a customer at “Another


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Broken Egg,” a business located at 4300 Paces Ferry Road, Suite 150, Atlanta,

Georgia 30339.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (There are multiple separate

structures and improvements situated upon said real property that are collectively

referenced herein as the “Facilities,” and said real property shall be referenced

herein as the “Property”).

      11.    Plaintiff lives approximately thirteen (13) miles from the Facilities

and Property.

      12.    Plaintiff’s access to the businesses located at 4300 Paces Ferry Road,

Atlanta, Georgia 30339, (Cobb County Property Appraiser’s parcel number

17090900170), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the

Facilities and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facilities and Property at least once before and

intends on revisiting the Facilities and Property once the Facilities and Property are


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made accessible.

      14.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      15.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to her access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facilities is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

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the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facilities must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in her capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

her disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,


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privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      27.    Plaintiff intends to visit the Facilities and Property again in the future

as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others


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with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The total number of accessible parking spaces on the Property

             is inadequate, in violation of section 208.2 of the 2010 ADAAG

             standards.

      (ii)   Accessible parking spaces are not properly located or

             distributed on the Property, in violation of sections 206.2.1 and

             208.3 of the 2010 ADAAG standards. Specifically, there are

             multiple Facilities on the Property that do not have a proximate

             disabled accessible parking space, rendering them inaccessible

             to disabled patrons.


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(iii)   The access aisle adjacent to the accessible parking space on the

        Property most proximate to Unit 107 of the Facilities is not

        level due to the presence of a ramp within the boundaries of

        said access aisle, in violation of section 502.4 of the 2010

        ADAAG standards.

(iv)    The access aisle adjacent to the accessible parking space on the

        Property most proximate to Unit 107 of the Facilities is not

        adequately marked, in violation of sections 502.3.3 of the 2010

        ADAAG standards.

(v)     The access aisle adjacent to the accessible parking space on the

        Property most proximate to Unit 115 of the Facilities is not

        level due to the presence of a ramp within the boundaries of

        said access aisle, in violation of section 502.4 of the 2010

        ADAAG standards.

(vi)    The above-described ramp on the Property most proximate to

        Unit 115 of the Facilities does not provide for a 36” (thirty-six

        inch) inch clear and level landing, and is obstructed by a pole,

        in violation of section 406.4 of the 2010 ADAAG standards.

(vii) The ground surface within the required maneuvering clearances


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       at the door to the entrance of Unit 115 of the Facilities is not

       level, in violation of section 404.2.4.4 of the 2010 ADAAG

       standards.

(viii) The accessible parking space on the Property most proximate to

       Unit 150 of the Facilities has a slope and cross-slope in excess

       of 1:48 (one to forty-eight), in violation of section 502.4 of the

       2010 ADAAG standards.

(ix)   The access aisle adjacent to the accessible parking space on the

       Property most proximate to Unit 150 of the Facilities is not

       adequately marked, in violation of section 502.3 of the 2010

       ADAAG standards.

(x)    The ground surface within the required maneuvering clearances

       at the door to the entrance of Unit 150 of the Facilities is not

       level, in violation of section 404.2.4.4 of the 2010 ADAAG

       standards.

(xi)   The access aisle adjacent to the accessible parking space on the

       Property most proximate to Unit 160 of the Facilities is not

       level due to the presence of a ramp within the boundaries of

       said access aisle, in violation of section 502.4 of the 2010


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      ADAAG standards.

(xii) The accessible route on the Property leading from the above-

      described accessible ramp to the accessible entrances of Unit

      160 of the Facilities has a cross-slope in excess of 1:48 (one to

      forty-eight), in violation of section 403.2 of the 2010 ADAAG

      standards.

(xiii) The access aisle adjacent to the accessible parking space on the

      Property most proximate to Unit 240 of the Facilities does not

      properly adjoin an accessible route, in violation of section 502.3

      of the 2010 ADAAG standards. The route from this parking

      space to the most proximate tenant spaces of the Facilities

      requires travel within the vehicular way, and traversing speed

      bumps and other elevated and dangerous obstructions.

(xiv) The access aisle adjacent to the accessible parking space on the

      Property most proximate to Unit 243 of the Facilities is not

      level due to the presence of a ramp within the boundaries of

      said access aisle, in violation of section 502.4 of the 2010

      ADAAG standards. The side flares of this ramp have slopes in

      excess of 1:10 (one to ten), in violation of section 406.3 of the


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      2010 ADAAG standards.

(xv) The access aisle adjacent to the accessible parking space on the

      Property most proximate to Unit 243 of the Facilities also has

      inadequate dimensions and is not adequately marked, in

      violation of sections 502.3.1 and 502.3.3 of the 2010 ADAAG

      standards.

(xvi) The Property lacks an accessible route connecting accessible

      facilities, accessible elements and/or accessible spaces of the

      Property, in violation of section 206.2.2 of the 2010 ADAAG

      standards.

(xvii) The signage for the accessible parking space on the Property

      most proximate to Unit 405 of the Facilities is not installed at a

      permissible height, in violation of section 502.6 of the 2010

      ADAAG standards.

(xviii) The accessible parking space on the Property most proximate to

      Unit 405 of the Facilities and its adjacent access aisle are not

      properly marked, in violation of sections 502.1 and 502.3 of the

      2010 ADAAG standards.

(xix) The access aisle adjacent to the accessible parking space on the


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      Property most proximate to Unit 405 of the Facilities is not

      level due to the presence of a ramp within the boundaries of

      said access aisle, in violation of section 502.4 of the 2010

      ADAAG standards. The side flares of this ramp have slopes in

      excess of 1:10 (one to ten), in violation of section 406.3 of the

      2010 ADAAG standards.

(xx) The accessible parking space on the Property most proximate to

      Unit 472 of the Facilities and its adjacent access aisle each have

      a slope and cross-slope in excess of 1:48 (one to forty-eight), in

      violation of section 502.4 of the 2010 ADAAG standards.

(xxi) The access aisle adjacent to the accessible parking space on the

      Property most proximate to Unit 472 of the Facilities is not

      level due to the presence of a ramp within the boundaries of

      said access aisle, in violation of section 502.4 of the 2010

      ADAAG standards. Said access aisle is not adequately marked,

      in violation of section 502.3 of the 2010 ADAAG standards.

(xxii) In multiple areas where accessible routes are available on the

      Property connecting the Facilities, they are punctuated by curb

      ramps that have running slopes in excess of 1:10 (one to ten),


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        side flares with slopes in excess of 1:10 (one to ten), in

        violation of sections 405.2 and 406.3 of the 2010 ADAAG

        standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of Unit 150 of the Facilities has a bar lacking any

        portion of which that has a maximum height of 34” (thirty-four

        inches) from the finished floor, in violation of section 902.3 of

        the 2010 ADAAG standards.

(ii)    The restrooms in Unit 150 of the Facilities have sinks that do

        not provide for adequate knee and toe clearance thereunder, in

        violation of section 606.2 of the 2010 ADAAG standards.

(iii)   The soap dispensers in the restrooms in Unit 150 of the

        Facilities are located outside the prescribed vertical reach

        ranges set forth in section 308.2.1 of the 2010 ADAAG

        standards.

(iv)    The accessible toilet stall doors in the restrooms in Unit 150 of

        the Facilities are not self-closing, in violation of section

        604.8.2.2 of the 2010 ADAAG standards.

(v)     The toilet stall doors in the restrooms in Unit 150 of the


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             Facilities have locks that require pinching, twisting and an

             opening force in excess of 5 lbs. (five pounds), in violation of

             sections 309.4 and 404.2.7 of the 2010 ADAAG standards.

      (vi)   The toilet paper dispensers in the restrooms in Unit 150 of the

             Facilities are positioned outside the permissible reach ranges set

             forth in section 604.7 of the 2010 ADAAG standards.

      (vii) The hand operated flush controls on the commodes in the

             accessible toilet stalls in the restrooms in the Facility are not

             located on the open side of the accessible stalls, in violation of

             section 604.6 of the 2010 ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to exit and re-enter her vehicle

while on the Property, more difficult and dangerous for Plaintiff to travel upon the

accessible routes on the Property, and more difficult for Plaintiff to utilize the

restroom in the Unit 150 portion of the Facilities.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facilities and Property.

      33.    Plaintiff requires an inspection of Facilities and Property in order to


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determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable


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harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facilities and

             Property to make them readily accessible to, and useable by,


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             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: March 4, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
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                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich



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